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                 Hon. Shelley C. Chapman
                 U.S. Bankruptcy Court
                 Southern District of New York
                 One Bowling Green
                 New York, New York 10004-1408

                      In re Perforadora Oro Negro, et al. Case No. 18-11094 (SCC) (Jointly Administered)

                     Dear Judge Chapman:

                                We write on behalf of Altema Capital Partners, LLC ("Altema"),
                 Contrarian Capital Management, LLC ("Contrarian"),1 and AMA Capital Partners, LLC
                 ("AMA" and, together with Altema and Contrarian, the "Interested Parties") in response
                 to the August 30, 2018 letter from the foreign representative of Integradora de Servicios
                 Petroleros Oro Negro, S.A.P.L de C.V. and Perforadora Oro Negro, S. de R.L. de C.V.
                 (the "Foreign Representative"), requesting certain discovery-related relief. (Dkt. 90.)

                                First, the Interested Parties are collecting and reviewing potentially
                 responsive communications from custodians5 mobile devices and central repositories of
                 information, such as shared drives, workspaces, and folders and, where appropriate, will
                 produce such discovery. The Interested Parties told the Foreign Representative this on
                 August 14, 2018 during a telephonic meet-and-confer, which the Foreign Representative
                 confirmed in an email dated August 15, 2018. {See Ex. A at 3 (email from D. Pulecio-
                 Boek dated August 15, 2018, at 1:26 p.m.).)




                 1
                         Contrarian agreed to accept service of the Foreign Representative's Rule 2004
                         subpoena and produce documents despite not being named in the Foreign
                         Representative's request for Rule 2004.discovery.
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                      Second, as to service on entities other than the Interested Parties, Altema
      and Contrarian are the only members of the Ad-Hoc Group2 that have appeared in this
      action. As to the other members of the Ad-Hoc Group, the Interested Parties disclosed to
      the Foreign Representative the countries of incorporation and cities where those entities
      have their principal places of business on August 3, 2018. (Ex. A at 13 (email from C.
      Johnson to D. Pulecio-Boek dated August 3, 2018, at 5:59 p.m.).) None of these is in the
      United States. The Court made it clear both during the hearing held on June 27, 2018 and
      in the July 11, 2018 Order (the "Discretionary Relief Order") that the discretionary relief
      was "only granted as to persons over whom [the Court] ha[s] jurisdiction." (June 27
      Hearing Tr. at 211:2-3; accord Dkt. 85 at 6.) The Interested Parties respectfully submit
      that the Foreign Representative's inability to serve other members of the Ad-Hoc Group
      reflects the entities' lack of presence in the United States.3

                      The Foreign Representative attempted to serve Ship Finance International,
      Ltd. ("SFIL"), a Bermuda-based company with a principal place of business in Hamilton,
      Bermuda, by serving the CEO and managing director of AMA, Paul Leand, Jr. At the
      time, Mr. Leand was a director of SFIL, and the subpoena was directed to SFIL "c/o Paul
      Leand."4 The Foreign Representative sent a process server Mr. Leand's residence, where
      his wife and children were at home but he was not. The process server's refusal to leave
      prompted Mrs. Leand to call the police. The process server showed up at Mr. Leand's
      office the following day and left a subpoena with an office assistant. But, contrary to the
      Foreign Representative's assertion, this was without Mr. Leand's instruction or consent.

                     New York law, pursuant to CPLR § 311(a)(1), allows process to be served
      on a foreign corporation by service on, among others, a director of the company, but it
      requires personal service. It does not allow substituted service by, for example,
      delivering service to a different person at the director's dwelling place or place of
      business. Lakeside Concrete Corp. v. Pine Hollow Bldg. Corp., 104 A.D.2d 551, 551-52
      (2d Dep't 1984), aff'd 65 N.Y.2d 865 (1985). The Foreign Representative knew that
      personal service had not been accomplished when the subpoena was left at Mr. Leand's
      office and did not make further attempts to serve SFIL through Mr. Leand. Its failure to
      follow the requirements for service on a foreign corporation under New York law does
      not amount to evasion of service by Mr. Leand.



         The Interested Parties incorporate by reference the definition of "Ad-Hoc Group" in
         the Foreign Representative's August 30 letter.
         The only case the Foreign Representative cites for the proposition that a court may
         order service to be made upon a defendant's attorney did so only after finding the
         defendant was subject to specific personal jurisdiction. See Forum Fin. Grp. Liab.
         Co. v. President, Fellows of Harvard Coll., 173 F. Supp. 2d 72, 91-92 (D. Me. 2001).
         A copy of the Foreign Representative's subpoena to SFIL is attached as Exhibit B.
         Exhibit B is materially identical to the subpoenas directed to the Interested Parties.
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                        Third, as to discovery materials in the possession of Nordic Trustee and
        other so-called "agents" of the Ad-Hoc Group, the Foreign Representative's claim that
        the Interested Parties are obligated to produce such discovery materials from such
        "agents" is not supported by the Discretionary Relief Order or Federal Rule of Civil
        Procedure 45. It is, rather, an attempt to expand the relief granted in the Discretionary
        Relief Order, which was limited to the entities it listed in Exhibit 1. (Dkt. 85 at 5 & Ex.
        1.)
                       The Foreign Representative was fully aware of Nordic Trustee's role in
       the events it seeks to investigate when it filed its discretionary relief motion yet did not
       request authority to take discovery from Nordic Trustee. (See generally Dkt. 16.) The
       Interested Parties respectfully submit that this would be the proper way to seek Rule 2004
       discovery from Nordic Trustee so that Nordic Trustee can respond to the request on its
       own behalf.

                       The Interested Parties intend to comply in good faith with their obligations
       to produce discovery materials that are in their possession, custody, or control. Contrary
       to the Foreign Representative's assertions, however, documents in the possession of
       Nordic Trustee and unidentified "agents" of the Ad-Hoc Group are not under the
       "control" of Altema or Contrarian, two members of the Ad-Hoc Group, and are certainly
       not under the "control" of AMA, the Ad-Hoc Group's financial advisor. As the indenture
       trustee, Nordic Trustee is not an "agent" under the control of the bondholders. (See
       Rosenberg Decl. Ex. 2 (Dkt. 37) at 227-28 (Bond Agreement dated November 9, 2016,
       Clause 17.1 (describing "[t]he role and authority of the Bond Trustee")).) In the interest
       of cooperation, the Interested Parties asked Nordic Trustee whether it would be willing
       voluntarily to produce discovery materials, but Nordic Trustee declined.

                      Over the course of multiple meet-and-confers, the Foreign Representative
       has refused to provide any authority for the proposition that the target of a Rule 45
       subpoena is obligated to produce discovery materials in the possession of its alleged
       "agents." (See Ex. A at 6 (email from D. Pulecio-Boek to C. Johnson dated August 10,
       2018, at 6:38 a.m.).)5 Nonetheless, demonstrating the breadth of the Foreign


           The authority cited in the Foreign Representative's letter does not support the
           sweeping, conclusory proposition that "[t]he Ad-Hoc Group controls their agents'
           documents and thus each member is obligated to produce them." (Dkt. 90 at 2 n.4.)
           Chevron Corp. v. Donzinger is a 79-page, fact-intensive opinion that concluded the
           defendants controlled their Ecuadorian lawyers and non-lawyer "agents." 96 F.R.D.
           168 (S.D.N.Y. 2013). Those entities actively participated in the Ecuadorian litigation
           at the center of the plaintiffs fraud allegations. Id. at 196-98. The Ecuadorian legal
           team was controlled by one of the defendants and the Ecuadorian "agents" selectively
           produced discovery in the U.S. litigation that was favorable to the defendants, while
           withholding discovery that was not. Id. at 196-98, 213-20. None of those factors is
           present here. Donzinger does not even begin to address how or why an individual
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        Representative's request, on August 15, 2018, the Foreign Representative asked Paul,
        Weiss to "provide a complete list of all of [our] clients' agents related to Oro Negro from
        March 2017 to April 2018" and "instruct all of the listed agents to produce documents."
        (Id. at 3 (email from D. Pulecio-Boek to C. Johnson dated August 15, 2018, at 1:26
        p.m.).)

                        Fourth, as to the production of discovery materials other than
        communications, the Interested Parties believe the Discretionary Relief Order was clear
        that the discovery topics were limited to "communications." (See Dkt. 85 at 5.) This is
        consistent with the Foreign Representative's description of the discovery requested
        during the June 27 hearing. (See June 27 Hearing Tr. at 128:19-129:20.) In accordance
        with the definition of "communication" in Civil Rule 26.3(c)(1) of the Local District
        Rules, made applicable by Local Bankruptcy Rule 2004-1, the Interested Parties have
        constmed "communication" to include documents and files saved in central repositories
        of information that are accessed and viewed by multiple individuals. We told the Foreign
        Representative this during the August 14 meet-and-confer.

                                                    Respectfully,



                                                    Aidan Synnott


        cc:      Scott C. Shelley, Esq.
                 Gabriel F. Soledad, Esq.
                 Eric D. Winston, Esq.




              member of the Ad-Hoc Group or its financial advisor would be deemed to "control'
              documents in the possession of an "agent" to the Ad-Hoc Group as a whole.
